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                   Exhibit A
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 2 of 58 Page ID #:10

                                                                            Service of Process
                                                                            Transmittal
                                                                            05/22/2017
                                                                            CT Log Number 531270956
    TO:     Barbara Williams
            The Talbots, Inc.
            175 Beal St
            Hingham, MA 02043-1512

    RE:     Process Served in California

    FOR:    The Talbots, Inc.  (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                  Lynette Fliegelman, on behalf of herself and all other similarly situated,
                                      Pltf. vs. The Talbots, Inc., et al., Dfts.
    DOCUMENT(S) SERVED:               Summons, Complaint, Exhibit(s), Declaration(s), Letter(s), Notice(s), Cover
                                      Sheet(s), Instructions
    COURT/AGENCY:                     Ventura County - Superior Court - Ventura, CA
                                      Case # 56201700496659CUBTVTA
    NATURE OF ACTION:                 Plaintiff Complaint regarding Unfair Business Practices in Violation of California
                                      Business & Professions
    ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:         By Process Server on 05/22/2017 at 14:55
    JURISDICTION SERVED :             California
    APPEARANCE OR ANSWER DUE:         Within 30 days after service (Document(s) may contain additional answer dates)
    ATTORNEY(S) / SENDER(S):          Zev B. Zysman
                                      Law Offices of Zev B. Zysman, PC
                                      15760 Ventura Boulevard, 16th Floor
                                      Encino, CA 91436
                                      818-783-8836
    ACTION ITEMS:                     CT has retained the current log, Retain Date: 05/23/2017, Expected Purge Date:
                                      05/28/2017

                                      Image SOP

                                      Email Notification,  Barbara Williams  BARBARA.WILLIAMS@TALBOTS.COM

    SIGNED:                           C T Corporation System
    ADDRESS:                          818 West Seventh Street
                                      Los Angeles, CA 90017
    TELEPHONE:                        213-337-4615




                                                                            Page 1 of  1 / DB
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 3 of 58 Page ID #:11




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                                           SUMMONS                                                                           o&opwusaoEL.scaqfS
                                  (CITACIONJUDICLAL)
                                                                                                                                VENTURA
NOTICE TO DEFENDANT:                                                                                         I               SUPERIOR COURT
(AVISO AL DEMANDADO):
THE TALBOTS, INC, and DOES                          I through 100, Inclusive.
                                                                                                             i                   Fl LED
                                                                                                                                MAY 17         2017
YOU ARE BEING SUED BY PLAINTiFF:                                                                             I            MICHAEL 0. PLANET
(LO ES TA DEMANDANDO a DEMANDANTE):                                                                                       muu*e Olticor and Clerk
                                                                                                                    BY:,.                    ,Doputy
 LYNETTE FLIEGELMAN, on Behalf of Herself and All Others                                                                         flL4 KAMINSKI
 Similarly Situated,

 below.
    You have 30 CALENDAR DAYS aftet lids summons one legal papers ore served on you to fda a written response at this court and have a copy
                                                                                                                                   Wyou want the court to hear your
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 case. There may be a court form that you can use for your response. You can find those court (wins and more information at the California Courts
                                                                                                                                                            lee, ask
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                                                    not file your  response    on thee,  you may   lose  the case by default. and  your  wages.  money,   and property
 the court Soak for a tee waiver forte. If you do
 may be taken without Itather wattling from the court.
                                                                                                                     an attorney, you may want to cad an attorney
     There are other legal requIrements. You may want to call an attorney right away. If you do not know
                                                                                                              a nonprofit legal services program. You can locate
 referral service. II you cannot afford an attorney, you may be eligble for free legal services from       the California Courts onlbio Self•Help Center
 these nanpreli I groups at the California Legal Services Web site (ww&awl*cafoiS.OW.
 (,.wewnbtcesovaonlIow). or by contacting your local cavil or county bar association. NOTE: Thepaid                    court has a statutory lien for waived fees and
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Ventura County Superior Court, 800 South Viptoria
 CA 93009
                                                                or plaintiff without an attorney, is:
The name, address. and telephone number of plaintiffs attorney, demandante. odel demandonte quo no None abogodo, as):
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 Zcv B. Zysman, LAW OFFICES OF ZEV B. ZYSMAN, 15760 Ventura Blvd., 16th Floor, Encino, CA 91436
                                                                   Michael D Planet
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                    LAW OFFICES OF ZEV B. ZYSMAN
                I A Professional Corporation                                        VENTURA
                  Zev B. Zysman (176805)                                         SUPERIOR COURT
                2 zev®zysnianlawca.com                                              FILED
                  15760 Ventura Boulevard, 16th Floor
                3 Encino, CA 91436                                                MAY 172017
                  Tel.: 818-7834836
                4 Fax: 818-783-9985                                            MiCHAEL 0. PLANEr
                                                                              Exiecuuv., -flicer and Clerk
                S Attorneys for Plaintiff and                                                           Deputy
                    the Proposed Class                                         JILL KAMZNSyJ
                6
                7
                8
                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                                                 I'

                                                     FORTHE COUNTY OF VENTURA              ..


               10
               II
                  LYNEIFE FLIEGELMAN, on behalf of               CASE NO.
               12 herself and all othets similarly situated,
                                                                 CLASS ACTiON COMPLAINT
               13                      PlaintliTh
                                                                 I; Unfair Business Practices in Violation
               '4   VS.                                             of California Business & Prolssiuns Code
               IS ' THE TALBOTS, INC. and DOES I through            Sections 17200, vi seq.
                                                                    Fraudulent Business Practices in
                     tOO, inclusive.
               16                                                   Violation ofCatitbrnia Business &
                                       Defendants.                  Protbssions Code Sections 17200, vi seq.
               '7                                                   untawfizl Business Practices in
                                                                    Violation of California Business &
               18
                                                                    Pro&ssions Code Sections 17200. vi seq.
               19                                                   False Advertising in Violation of
                                                                    California Business & Profbssions Code
               20                                                   Sections 17500, et seq.
                                                                     Violations of California Consumer
               21                                                   •I.egat Remedies Act
               22
               23

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               28

                    I CLASS ACTiON COMPLAINT
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 5 of 58 Page ID #:13
   -1




    1          Plaintiff Lynette Fliegclman ("Plaintiff"), brings this action against Defendant The

    2 Talbots, inc. ("Defendant" or "Talbots") and DOES 1-100 on behalf of herself, and all others
    3 similarly situated, upon information and belief, except as to her own actions, the investigation of

    4 her counsel, and the facts that are a matter of public record, as follows:
    5
                                                INTRODUCTION
    6

    7                  This class action arises out of Defendant's unlawful, unfair, and fraudulent business

    8 practice commonly referred to as "false reference pricing." "False reference pricing" is the act of

    9 misrepresenting the original or regular price of some good that is purportedly offered at a "sale

   10 price," a business practice that Defendant engages in to increase sales. As alleged herein, during

   11 at least the past four years, Defendant has misled consumers by advertising the false former or

   12 purported "regular" prices which were fabricated, and corresponding phantom "savings" on

   13 women's apparel, shoes, accessories and other items sold in its Talbots "Outlet" stores in

   14 California.

   15          2.      California law prohibits the discounting of retail merchandise from its original

   16 price for more than ninety (90) days. See California Business & Professions Code § 17501.
   17 Federal regulations also mandate that a retaiLer offer only genuine discounts from regular retail

   18 prices; not false discounts from inflated original prices. See 16 C.F.R. §233.1.
   19          3.      Some retailers, such as Talbots, employ false reference pricing because it misleads

        I
   20 consumers into believing that they are "getting a good deal," thereby increasing sales. The United
   21 States Court of Appeals for the Ninth Circuit succinctly explained: "Most consumers have, at

   22 some point, purchased merchandise that was marketed as being 'on sale' because the proffered

   23 discount seemed too good to pass up. Retailers, well aware of consumers' susceptibility to a

   24 bargain, therefore have an incentive to lie to their customers by falsely claiming that their products
   25 have previously sold at a far higher 'original' price in order to induce customers to purchase

   26 merchandise at a purportedly marked-down 'sale' price. Because such practices are misleading         -




   27 and effective   -   the California Legislature has prohibited them." Hinojos v. Kohl's Corp., 718 F.3d

   28
    I   Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 6 of 58 Page ID #:14
           I




               I 1098, 1101 (9th dr. 2013).
                                    The intentional use of false and fraudulent reference pricing tactics is increasingly
               2             4.
                      deceiving consumers in the market. To illustrate, on January 30, 2014, four members of Congress
               3
                      demanded a Federal Trade Commission ("EEC") investigation of misleading marketing practices
               4
                      by outlet stores across the United States. The four Members of Congress described a pricing
               1 11
                      scheme similar to the one implemented at Talbots Outlet stores and stated: "[h]owever, we are
               6
                      concerned that outlet store consumers are being misled into believing they arc purchasing products
               7
                      originally intended for sale at the regular retail store. Many outlets may also be engaged in
               8
                      deceptive reference pricing. It is a common practice at outlet stores to advertise a retail price
               9
                                                          even on made-for-outlet merchandise that does not jell at rejlar
           10 alongside the outlet store price        -




                      retail locations. Since the item was never sold in the regular retail store or at the retail price, the
           11
                      retail price is impossible to substantiate. We believe this practice may be a violation of the FTC's
           12
                                                                      Pricing         (16      CFR         233)."        See
               13 Guides            Against        Deceptive                      .




               14

               15 consumers.
                                     During the Class Period (defined below), Defendant continuously advertised false
               16
                      price discounts for merchandise sold throughout its Outlet stores in California. Defendant would
               17
                      offer substantial discounts from the "regular" prices listed on the original price tag. Specifically,
               18
                       the words "Special Value" are set forth on every price tag in the Outlet stores to indicate the
               19
                       "regular" price at which merchandise was purportedly offered for sale. The represented. "Special
               20
                       Value" prices on the price tags were also false "regular" prices. In fact, based on Plaintiff's
               21
                       investigation, the "Special Value" prices were artificially inflated and were never the true regular
               22
                       prices for merchandise sold at Talbots Outlet stores. In addition, the represented "Special Value"
               23
                       prices were not the prevailing market retail prices within three months next immediately preceding
               24
                       the publication and dissemination of the advertised former prices, as required by California law.
               25     ,

                                      Defendant conveys its deceptive pricing scheme through in store signage offering
               26

               27 II steep discounts from the "Special Value" regular prices listed on the products' price tags in the
a
               28
      Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 7 of 58 Page ID #:15




          1 Outlet stores. The "Special Value" regular prices listed and advertised on Defendant's price tags

          2 are fake reference prices; utilized only to perpetuate Defendant's fake-discount scheme. The

          3 pricing scheme is prominently displayed on virtually all items throughout the store. There are

          4 typically large placard signs on top of or alongside each rack of clothing or accessories,

          5 advertising a "discounted % off," or a "discounted whole-price" reduction for the item. For

          6 example, a product may have a price tag with a "regular" price of $89.50 and the related signage

          7       advertising "40% Off Regular-Price Items," which is substantially less than the regular price listed

          8 on the price tag. See Exhibit "A." Another example is a product having a price tag with a
                                                                                                    See Exhibit
          9 "regular" price of $69.50 and the related signage advertising a "sale price" of $29.99.
         10 "B." However, the "Special Value" regular prices listed on the price tags have never existed

         11 and/or were not the prevailing market retail prices for such products within the three months next

         12 immediately preceding the publication of the price tags, as required by California law. They are

         13 fictional creations intentionally designed to enable Defendant's phantom markdowns.

         14 Furthermore, upon check-out, Defendant provides California consumers, including Plaintiff, with

         15 sales receipts continuing the misrepresentations regarding false price reductions. For example, the

         16 stated discount from the false former "regular" price is listed for each item purchased.

         17              7.      Talbots knows consumers are bargain-hunters, and knows consumers are lured by

              I
         18 the prospect of a bargain at "Outlet" stores. "Outlet" stores are commonly understood by the
         19 public to be selling the same merchandise that the manufacturer typically sells at its regular non-

         20 outlet retail stores, but at a discount. According to Business Insider, "(t]hc common assumption

              I
         21 about outlet stores is that you're getting the same goods that are in a regular store without the big

         22 price tag." See http:I/www.businessinsider.com/outlet-stores-arent-ag90ddea120 14-5. However,

         23 outlet stores typically sell difibrent merchandise than their retail counterparts, without informing

         24 I customers that this is the situation.

         25              8.      In this case, Defendant offers for sale products manufactured exclusively and

            I
         26 intended solely for sale in its Outlet stores. Further exacerbating consumers' perception of deep

         27 I discounts is the frct that Defendant sells higher quality products at its company-operated mainline
.4-
         28
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 8 of 58 Page ID #:16
        II




    I        retail stores. Defendant knows that cànsumers expect to receive a discount when shopping at its

    2 Outlet stores, and accordingly, preys on consumer expectations by artificially marking up the

    3        regular price of its products and then offering discounts off of the artificially inflated regular price

    4        to induce consumers to purchase their products. The regular price exists to provide an illusory

    5        discount when compared to the actual sales price offered. This tactic is called "reference pricing."

    6        The regular price listed on the price tags were and are the prices chosen by Defendant to enable it

    7 to engage in its phantom markdown scheme.

    8               9.      Defendant conveys its deceptive pricing scheme to consumers through promotional

    9 materials, in-store advertising displays, and print advertisements which are uniform. Upon

   10        information and belief, Defendant's false price advertising scheme has been rampant throughout

   11        California as part of a massive, years-long, pervasive campaign and has been consistent across all

   12        of Defendant's exclusive branded apparef and accessories sold in its Outlet stores. Indeed, most,

   13        if not all products sold in Talbots Outlet stores are subject to the same fraudulent pricing scheme

   14   I complained of herein.

   15                tO.    Upon information and belief, thousands of Defendant's consumers in Calilbrnia,

   16        including Plaintiff, were victims of Defendant's deceptive, misleading, and unlawful false pricing

   17   I scheme. This deception will continue if Defendant is not enjoined from continuing its pricing

   18        scheme.

   19               II.     Defendant knows or should reasonably know that its comparative price advertising

   20        is false, deceptive, misleading and unlawful under California law.

   21               12.     Defendant has fraudulently concealed from, and intentionally failed to disclose to,

   22   I Plaintiff and other members of the Class, the true facts about its product prices and thlsely

   23        advertised price discounts from those purported "regular" prices.

   24               13.     At all relevant times, Defendant has been under a duty to Plaintiff and the Class to

   25 disclose the truth about its former "regular" prices and false discounts.

   26               14.     The facts which Defendant misrepresented or failed to disclose are material facts

   27 that a reasonable person would have considered material, i.e., facts which would contribute to a

   28
         F                                                     5
             CLASS ACTION COMPLAINT
    Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 9 of 58 Page ID #:17




       1 reasonable person's decision to purchase Defendant's merchandise. Defendant's false

       2 representations of former "regular" prices and false representations of purported savings, discounts

       3    and bargains are objectively material to the reasonable consumer, including Plaintiff, and therefore

       4    reliance upon such representations may be presumed as a matter of law.

        5           IS.    Plaintiff relied upon Defendant's false representations of regular prices and

        6 discounts when purchasing merchandise from Talbots Outlet store. Plaintiff would not have made

        7 such purchases, but for Defendant's false representations and fraudulent omissions of the regular

        8   price of the items purchased, as compared with the supposedly discounted or sale price at which

        9   Plaintiff purchased the items.

       10           16.    Plaintiff reasonably believed the truthf the represented prices attached to the price

       11   tags, or in advertisements or on signage regarding, products purchased at Talbots Outlet store,

       12   which expressly represented that Plaintiff was getting a substantial percentage discount or whole-

       13   price reduction off the products. Plaintiff reasonably understood the price on the price tag to be a

       14    valid representation of the former regular price. However, because Defendant never adopted its

       15    own former regular price, its former price merely constituted a ploy to conjure the illusion of a

       16 non-existent "discount" on goods that were never offered anywhere close to the higher price

       17    Defendant claimed.

       18           17.    Plaintiff and the Class reasonably and justifiably acted and relied on the substantial

       19 price differences that Defendant advertised, and made purchases believing that they were

       20    receiving a substantial discount on an item of greater value than it actually was. Plaintiff and the

       21    Class reasonably understood the price on the price tags to be a valid representation of a former

       22    regular price. However, the price on the price tags did not represent a former price or the

       23    prevailing market prices for the products. Plaintiff, like other Class members, was lured in, relied

       24 1 0n, and was damaged by these pricing schemes that Defendant carried out.
       25           18.     Defendant intentionally concealed and failed to disclose material facts regarding

       26   I the truth about its misrepresentations and false former price advertising scheme for the purpose of
       27 inducing Plaintiff and Class members to purchase merchandise in its Talbots Outlet scores.
4
       28
    Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 10 of 58 Page ID #:18




        I              19.    Through its false and deceptive marketing, advertising and pricing scheme,

        2 Defendant has violated, and continues to violate California law prohibiting advertising goods for

        3 sale as discounted from purported former prices which are false, and prohibiting misleading

        4 statements about the existence and amount of price reductions. Specifically, Defendant has

        5 violated, and continues to violate, California's Business & Professions Code ft 17200,
                                                                                                 ci seq. (the

        6 'UCL"), California's Business & Professions Code § 17500, ci               seq. (the "FAL"), and the

        7 California Consumers' Legal Remedies Act, California Civil Code ft 1750, ci seq.
                                                                                           (the "CLRA"),

            I
        8 and the Federal Trade Commission Act ("FTCA"), which prohibits "unfair or deceptive acts or

        9 practices in or affecting commerce" (IS U.S.C. § 45(a)( I)) and false advertisements. 15 U.S.C. §

       10 52(a).

       11              20.    Plaintiff brings this action on behalf of herself and other similarly situated

       12 consumers who have purchased one or more items at Talbots Outlet stores in California that were

       13 deceptively represented as discounted from false former prices in order to halt the dissemination of'

       14 this false, misleading, and deceptive pricing scheme, to correct the false and misleading perception

       15 it has created in the minds of consumers, and to obtain redress for those who have purchased such
       16 products. Plaintiff seeks restitution and other appropriate equitable remedies, including an

       17 injunction under the UCL and FAL; and an injunction under the CLRA.

       18
                                               JURISDiCTION AND VENUE
       19

       20              21.    This Court has subject matter jurisdiction over the causes of action asserted herein

       21 pursuant to California Code of Civil Procedure § 410.10 and Article VI, § 10 of the California

       22       Constitution. In the aggregate, the damages caused to the members of the Class as defined below

       23 exceed the jurisdictional minimum of this Court, but neither the Plaintiff nor any member of the

       24 Class individually has suffered damages of, at least, $75,000.

       25              22.    This Court has personal jurisdiction over the Defendant named herein because

          I
       26 Defendant does sufficient business in California, has sufficient minimum contacts with California

       27 I and/or otherwise intentionally avails itself of the markets withinCalifornia through its sales,
t
       28
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 11 of 58 Page ID #:19




       dvertising and marketing to render the exercise of jurisdiction by California courts and the
    Ia                                        ms of the Plaintiff permissible under traditional notions of
                                        e clai
      application of California law to th
    2
       fair play and substantial justice.
    3
                       Venue is proper in this Court since, as detailed below, the named Plaintiff is a
    4           23.
       resident of this County, the acts and transictions giving risc to this action occurred in this County,
    5                                                               this County, and Defendant received
    6 a substantial number of Defendant's acts occurred in
          substantial compen58ti0fl from sales of its products in this County by doing business here. Thus,
     7                                                              certain obligations and liability of the
          as to the named plaintiff and other Class members,
     S
           Defendant arose in part in this County.
     9

    10                                                  THE PARTW
                                                        __________




    11

     12            A.         plainijif
                              Plaintiff Lynette Pliegelman ("Fliegelman") is a citizen and resident of Ventura
     13         24.
     14 County, California. It is allegedthat on December 19, 2016, in reliance on Defendant's false and
                                                                                              S54.00 in
     15 deceptive advertising, marketing and pricing schemes, Plaintiff purchased over

        16 exclusive branded apparel at Talbots Outlet store located in Camarillo, California, and was


        17 damaged thereby.
                   B. Defendant
        is
                          Defendant The Talbots, Inc. ("Talbots") is a Delaware corporation which is
        19         25.
        20 iicensed to do, and is doing, business throughout the United States, with its principal place of

         21 business located at One Talbots Drive, Hingham, Massachusetts 02043. Defendant owns and

         22 operates Talbots Outlet stores in California, and advertises, markets, distributes, andlor sells
                                                                   n California and throughout the United
         23 women's apparel, shoes, accessories and other items i

         24 States.
                                                       are the subject of this Complaint are the Talbots Outlet stores
                        26.     The only stores that
          25
          26 located in California.

          27

          28
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 12 of 58 Page ID #:20




    I            C.     Doe Defendants

    2                   The true names and capacities of Defendants sued in this Complaint as Does I

    3    through 100, inclusive, are currently unknown to Plaintiff, and therefore Plaintiff sues such

    4    Defendants by such fictitious names. Plaintiff will amend this Complaint to reflect the true names

    5    and capacities of the Defendants designated herein as Does I through 100, when they have been

    6    ascertained, along with the appropriate charging allegations, as may be necessary.

    7                   Plaintiff is informed and believes, and on that basis alleges, that each of the

    8     fictitiously named Defendants was in some manner legally responsible for the actionable and

    9 unlawful actions, policies and practices as alleged herein. Plaintiff will amend this Complaint to
   .10   set forth the true names and capacities of said Defendants, along with the appropriate charging

   11    allegations when the same have been ascertained. Each reference in this Complaint to "Talbots"

   12    or "Defendant" is also a reference to all Defendants sued as Does I through 100.

   13            D.     Agency/Aiding And Abetting

   14                   Plaintiff is informed and believes, and on that basis alleges, that at all times herein

   15 I mentioned, Defendants, and each of them, were an agent or joint venturer of each of the other
   16 I Defendants, and in doing the acts alleged herein, were acting within the course and scope of such
   17     agency. Each Defendant had actual and/or constructive knowledge of the acts of each of the other

   18    Defendants, and ratified, approved, joined in, acquiesced and/or authorized the wrongful acts of

   19    each co-defendant, and/or retained the benefits of said wrongful acts.

   20                   Plaintiff is further informed and believes, and on that basis alleges, that Defendants,

   21.   land each of them, aided and abetted, encouraged and rendered substantial assistance to the other

   22    IDefendants in breaching their obligations to Plaintiff and the Class, as alleged herein. In taking

   23 I action, as particularized herein, to aid and abet and substantially assist the commissions of these
   24     wrongful acts and other wrongdoings complained of., each of the Defendants acted with an

   25     awareness of his/her/its primary wrongdoing and realized that his/her/its conduct would

   26 I substantially assist the accomplishment of the wrongful conduct, wrongful goals, and wrongdoing.
   27
   28
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    I          31.     Whenever reference is made in this Complaint to any act of "Talbots" or

    21 "Defendant," such shall be deemed to mean that officers, directors, agents, employees, or
    3 representatives of the Defendant named in this lawsuit committed or authorized such acts, or failed
    4 and omitted to adequately supervise or properly control or direct their employees while engaged in
    5 the management, direction, operation or control of the affairs of the Defendant and did so while

    6 acting within the scope of their employment or agency.
    7
                     CONDUCT GIVING RISE TO THE VIOLATIONS OF THE LAW
    8
    9          A.     Plaintiff's Purchases

   10          32.    On December 19, 2016, Plaintiff went shopping at the Talbots Outlet store in

   11 Camarillo, California to purchase clothing and related apparel for herself. She observed an

   12 exterior window display that advertised "Up to 60% Entire Store."
   13          33.    Upon entering the store, Plaintiff observed prominent signage on top of or

   14 alongside each rack of clothing or accessories, advertising a "discounted % off," or a "discounted
   15 whole-price" reduction for each item offered for sale. Believing she was able to pay significantly

   16 less than what certain products were worth and normally sell for in the marketplace, Plaintiff was
   17 induced to purchase three different items, all of which were offered at prices significantly lower
   18 than their stated "regular" prices. Plaintiff purchased the items after relying on Defendant's false
   19 discounts and false "regular" former prices for such products.
   20          34.    Specifically, relying upon Defendant's misrepresentations and false and deceptive

   21 advertising, Plaintiff was induced to purchase the following three items: a long-sleeve crewneck
   22 tee-shin, item number 900016328515876421 17762 bearing a price tag of"$26.00," a long-sleeve

   23 crewneck tee-shirt, item number 900016328515820421 18190 bearing a price tag of "$26.00," and
   24 a long-sleeve denim shirt, item number 90101632874340942383620 bearing a price tag of
   25 "$74.50." See true and correct copies of price tags attached to clothing which Plaintiff purchased

   26 on December 19, 2016, attached hereto as Exhibit "C."
   27

   28
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     1          35.    Plaintiff observed signage adjacent to and above these• items that advertised

     2 percentage discounts of "60% Off Regular-Price Items." The signs were located near the items
     3 offered for sale, clearly indicating that the items were being sold at significant discounts off their
     4 "regular" prices. The tee-shirts contained price tags representing them to have a regular "Special
     5 Value" price of $26.00, and the signage which represented that the tee shirts were on sale for

     6 "60% Off Regular-Price." leaving a discount and savings of S 15.60, and purchase price at $10.40.
     7 The long-sleeve denim shirt contained a price tag representing it to have a regular "Special Value"

     8 price of S74.50, and the signage which represented that the denim shin was on sale for "60% Off
    9 Regular-Price," leaving a discount and savings of $44.70, and purchase price at $29.80.
   10           36.    Relying on Defendant's misrepresentations and false and deceplive advertising and

   1.1 believing that she was receiving a significant discount by purchasing these items at 60% off the
   12 "regular" price, Plaintiff decided to purchase the items and proceeded to the cash register where
   13 she did in fact purchase the items. Plaintiff also believed she was purchasing merchandise that
   14 was of the same like, kind and quality of that sold in the regular company-operated retail stores.

   15 These purported "regular" prices and corresponding price reductions and savings were false and

   16 deceptive, as the prevailing market retail price for the three shirts during the three months
   17 immediately prior to Plaintiff's purchase of such items were never         at the represented former

   18 "regular" prices. Plaintiff would not have purchased the shirts in the absence of Defendant's
   19 misrepresentations. Instead, Defendant continuously offered the subject shirts, like the majority of
   20 products offered for sale at Talbots Outlet stores, for sale at discounted prices. As a result,
   21 Plaintiff has been personally victimized by and suffered economic injury as a direct result of
   22 Defendant's unlawful, unfair and fraudulent conduct.
   23          37.     Furthermore, upon check-out on December 19, 2016, Defendant provided Plaintiff

   24 with a sales receipt containing the same misrepresentations regarding false price reductions off the
   25 regular prices on the three shirts. The sales receipt clearly represented that Plaintiff was receiving

   26 the benefit of a "600/6" discount off the "Regular Price" for each item purchased and listed the
   27 discount or savings amount for each item, and then the sales price after the purported discount.
   28
                                                        11
         CLASS ACTION COMPLAINT
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         1 See true and correct copy of Plaintiff's sales receipt, dated December 19, 2016, attached hereto as

         2 I Exhibit "D."

         3          B.         Defendant Engages In Deceptive Advertising

         4          38.        Subsequent to Plaintiff's purchase, an investigation conducted on behalf of Plaintiff

         5 confirmed that the "regular" prices listed on the price tags for Plaintiff's purchases at Talbots

         6   Outlet stores were never the prevailing market price at Talbots Outlet stores in the preceding 90

         7   days before Plaintiff's purchase. Additionally, the investigation revealed that Defendant's

         8 deceptive advertising practices were systematic and pervasive at Talbots Outlet stores as items
         9 remain continuously discounted from their "regular" price tag price or they are not offered for sale
        10 at their "regular" price tag price for any substantial period of time, and in most cases, not at all,
        11 and in compliance with California law. Indeed, in most instances, new items appear at the .Talbots
        12 Outlet stores that are immediately discounted, rendering the "Special Value" regular prices
I.      13 completely meaningless, false, and misleading. The difference between the discounted sale prices
        14 and the "Special Value" regular price is a false savings percentage or whole-price reduction used
        15 to lure consumers into purchasing products they believe are significantly discounted. In addition,

        16 the clothing and many of the other items sold at Talbots Outlet stores are manufactured for, and

        17 sold exclusively by, those Outlets, which means that such items were never sold or even intended
                                                                                                 -




        18 to be sold     -
                              at the regular price listed on their price tags. Most, if not all, of these items were

        19 never offered for sale in Talbots' non-outlet retail stores in California.

        20          39.        By failing to price clothing and other items at their actual regular price for a

        21. substantial period of time, Defendant artificially inflated the market price or value of the clothing
        22 and other items it sells, including the shirts purchased by Plaintiff. Moreover, by failing to price
        23 its merchandise, including the shirts purchased by Plaintiff at their regular price for a substantial
        24 period of time, and in compliance with California law, Defendant interfered with market forces,
        25 driving the selling price of its products higher than they would be if Defendant had complied with
        26 I the law.
        27

        28
                                                                12
             CLASS ACTION COMPLAINT
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    1           40.        Defendant's false discounting practice, as described herein, has the effect of setting

    2 an artificially high market value for its "on sale" merchandise. Customers, like Plaintiff, purchase
    3 merchandise from Defendant believing they are receiving a substantial discount on their
    4 purchases, when in fact they are not. They are instead purchasing an item they would not
    5 otherwise buy and paying a higher price than they would otherwise pay were the products subject
    6 to fair market competition and pricing.
    7           41.        Plaintiff's and Class members' reliance upon Defendant's false price comparison

    8 advertising was not only reasonable, but entirely intended by Defendant. In fact, empirical
    9 marketing studies demonstrate that reference pricing actually creates an impression of higher value
   •1.0 and an incentive for retailers to engage in this false and fraudulent behavior:

   11               [c]omparative price advertising offers consumers a basis for comparing the

   12               relative value of the product offering by suggesting a monetary worth of the

   13               product and any potential savings     . . . .
                                                                    [A] comparative price advertisement

   14               can be construed as deceptive if it makes any representation.....or involves

   15                 any practice that may materially mislead a reasonable consumer.

   16
        Comparative Price Advertising: Informative or Deceptive?, Dhruv Grewal and Larry D.
   17
        Compeau, Journal of Public Polity & Marketing, Vol. 11, No. I, at 52 (Spring 1992).
   18
        Furthermore:
   19
   20                 [b]y creating an impression of savings, the presence of a higher reference

   21                 price enhances subjects' perceived value and willingness to buy the product.

   22                     Thus, if the reference price is not truthful, a consumer may be encouraged

   23                 to purchase as a result of a false sense of value.

   24
        lid, at 55, 56.
   25
                 42.       A retailer's "reference price," the stated price presented alongside the retailer's "on
   26
         sale" price, provides consumers a reference point with which to evaluate the prospective purchase.
   27
   28
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    I   The reference price is often described with terms such as "Regular Price," 'Original Price," and/or

    2 "Former Price."

    3          43.     A retailer's reference price impacts the consumer's behavior in the marketplace.

    4 As the reference price increases, so does the consumer's perception of the value of the transaction,

    5 the consumer's willingness to make the purchase, and the amount of money the consumer is

    6 willing to pay for the product.

    7          44.      When the reference price is bona fide and truthful, it helps consumers make

    8   informed purchasing decisions. In contrast, consumers are harmed when merchants advertise their

    9   products alongside falsely-inflated former prices, i.e., "false reference prices," as consumers are

   10   provided a false sense of value, in this context1 the reference price is no longer informative but

   11 deceptive because consumers are deprived of a full and fair opportunity to accurately evaluate the

   12   specific sales offer in its relevant market. As the Ninth Circuit recognizes, "[m]isinformation

   13   about a product's "normal" price is   . . .   significant to many consumers in the same way as a false

   14   product label would be." See Ilinojos v. Kohl s inc. 71$ F.3d at 1106.

   15          45.      Moreover, the hidden nature of false discounting makes it effective. Consumers,

   16 like Plaintiff, unaware of the practices at issue, instead complete their purchases believing that

   17   they "got a good deal." Retailers, like Defendant, make falsely-discounted sales without suspicion

   18   because consumers do not have access to the comprehensive historical pricing information

   19 necessary to reveal the deception.

   20          46.     The full extent of Defendant's false and deceptive pricing scheme can only be

   21   revealed through a FuJI examination of records exclusively in the possession of Defendant.

   22          47.     Plaintiff would purchase Defendant's products in the future from Talbots Outlet

   23   stores, if price tags accurately reflect former "regular" prices and "sales" prices were not marketed

   24   in a deceptive manner that is likely to mislead consumers like herself. Currently, however,

   25 Plaintiff and other consumers have no realistic way to know which         -   if any   -   of Defendant's price

   26   tags and sale prices are not false or deceptive. If the Court were to issue an injunction ordering

   27 Defendant to comply with California's comparative price advertising laws, and prohibiting

   28

               ACTION
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    1. Defendant's use of the deceptive practices discussed herein, Plaintiff would be able to make

    2 informed purchase decisions for Defendant's products at Talbots Outlet stores.

    3
                              PLAINTIFF'S CLASS ACTION ALLEGATIONS
    4

    5          48.    Plaintiff brings this action on behalf of herself, and all others similarly situated.

    6 The proposed Class that Plaintiff seeks to represent ii defined as follows:

    7          All persons who, while in the State of California, during the four (4) year period

    8          preceding the filing of this Complaint through the date of final judgment in this

    9          action (the "Class Period"), purchased from Defendant one or more products at a

   10          purported discount off of the stated regular price at any one of Defendant's Outlet

   11           tores in the State of California, and who have not received a refund or credit for

   12          their purchase(s).

   13          49. Excluded from the Class are Defendant; its corporate parents, subsidiaries, affiliates,

   14 land any entity in which Defendant has a controlling interest; any of its officers, directors,
   15 employees, or agents; the legal representatives, successors or assigns of any such excluded persons
   16 or entities; and the judicial officers to whom this matter is assigned as well as their court staff.

   17 Plaintiff reserves the right to expand, limit, modify, or amend this class definition, including the
   18 I addition of one or more subclasses, in connection with her motion for class certification, or at any
   19 Iother time, based upon, inter a/ia, changing circumstances and/or new facts obtained during

   20 I discovery.
   21          50.     The members of the Class are so numerous that joinder of all members is

   22 impracticable. While the exact number of Class members is unknown to Plaintiff at this time,

   23 Plaintiff estimates that the Class consists of thousands of members. Moreover, Plaintiff alleges
   24 that ihe precise number of Class members, their identities, and their locations can be ascertained
   25 though appropriate discovery and records of Defendant and its agents. Defendant keeps extensive

   26 computerized records of its customers through, inler a/ia, customer loyalty programs, co-branded
   27 credit cards and general marketing programs. Defendant has one or more databases through which
   28
                                                        15
        CLASS ACTION COMPLAINT
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        1 a significant majority of Class members may be identified and ascertained, and it maintains
        2 contact information, including email and home mailing addresses, through which notice of this
        3 action could be disseminated to potential Class members in accordance with due process
        4 requirements.
        S          51.     There is a well-defined community of interest in the questions of law and fact

        6 affecting the parties represented in this action.
I
        7          52.     Common questions of law and fact exist as to all members of the Class. These

        8 common questions predominate over the questions affecting only individual members of the Class.
        9          53.     Among the questions of law and fact common to the Class are. biter a/ia:
       10          a.      Whether, during the Class Period, Defendant used false "regular" price tags and

       1.1 falsely advertised price discounts on merchandise it sold in its California Talbots Outlet stores;
       12          b.      Whether, during the Class Period, the "regular" prices advertised by Defendant
U
       13 were the prevailing market prices for the respective merchandise sold by Defendant during the
       14 three month period preceding the dissemination and/or publication of the advertised former prices;
       15          C.      Whether Defendant's use of false or deceptive price advertising constituted false

       16 advertising under California law;
       17          d.      Whether Defendant engaged in unfair, unlawful and/or fraudulent business

       18 practices under California law;
       19          e.      Whether Defendant misrepresented and/or failed to disclose material facts about its

       20 product pricing and discounts;
       21          f       Whether Defendant has made false or misleading statements of fact concerning the

       22 rqasons for, existence of, or amounts of price reductions;
       23          g.      Whether Defendant's conduct, as alleged herein, was intentional and knowing;

       24'         h.      Whether Class members are.entitled to damages and/or restitution; and, if so, what

       25 is the amount of revenues and/or profits Defendant received and/or was lost by Class members as
       26 a result of the conduct alleged herein;
       27
       28
                                                              16
             CLASS ACTION COMPLAINT
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                         Whether an injunction is necessary to prevent Defendant from continuing to use
    I            i.

    2     false, misleading or illegal price comparisons; and
                         Whether Plaintiff and Class members are entitled to an award of reasonable
    311          j.
    4     attorneys' fees, pre-judgment interest and costs of suit.

                 54.     Plaintiff's claims are typical of, and arc not antagonistic to, the claims of all Class
    5
          members. Plaintiff and the Class she seeks to represent have all been deceived (or were likely to
    .6
          be deceived) by Defendant's false former price advertising scheme1 as alleged herein. Plaintiff is
    7

    8     advancing the same claims and legal theories on behalf of herself and all members of the Class.

                         Plaintiff is an adequate representative of the Class because she is a member of the
    9             55.

   10     Class and her interests do not conflict with the interests of the Class members she seeks to

   Ii     represent. Plaintiff will fairly and adequately represent and protect the interest of the Class

   12     because she is not antagonistic to the Class. Plaintiff has retained counsel who are competent and

   13     experienced in the prosecution of consumer fraud and class action litigation.
                          A class action is superior to other available means for the fair and efficient
   14             56.
   15 adjudication of Plaintiff's and Class members' claims. Because of the relatively modest size of

          individual Class members' claims, few, if any, Class members could afford to seek legal redress of
   16
          the wrongs complained of herein on an individual basis. Absent the class action. Class members
   17
          and the general public would not likely recover, or would not likely have the chance to recover,
   18
          damages or restitution, and Defendant will be permitted to retain the proceeds of its unfair and
   19
    20    unlawful misdeeds.
                          All Class members, including Plaintiff, were exposed to one or more of
    2.1           57.
           Defendant's misrepresentations or omissions of material fact claiming that former "regular"
    22
           advertised prices were in existence. Due to the scope and extent of Defendant's consistent false
    23
    24     price advertising scheme, disseminated in a massive, years-long campaign to California consumers

    25     via in-store display advertising, print advertising, and the like, it can be reasonably inferred that

    26     such misrepresentations or omissions of material fact were uniformly made to all members of the

    27     Class. In addition, it can be reasonably presumed that all Class members, including Plaintiff,

    28
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        I affirmatively acted in response to the representations contained in Defendant's false advertising
        2 scheme when purchasing merchandise at Defendant's Outlet stores.
        3
                                                 FIRST CAUSE OF ACTION
        4
                                         Violation Of The "Unfair" Prong Of The UCL
                                         (By Plaintiff and the Class Against Defendant)


                           .
                               Plaintiff re-alleges and incorporates by reference the allegations contained in the

              preccding paragraphs as though fully set forth herein.

                               The UCL defines unfair business competition to include any "unlawful, unfair or

-      10
              fraudulent" act or practice, as well as any "unfair, deceptive, untrue or misleading" advertising..

             I Cal. Bus. & Prof. Code § 17200.
       1.1
                               The UCL imposes strict liability. Plaintiff need not prove that Defendant
       12
              intentionally or negligently engaged in unlawful, unfair, or fraudulent business practices    -   only
       13
              that such practices occurred.
       14
                               A business act or practice is "unfair" under the UCL if the reasons, justifications
       .15
             land motives of the alleged wrongdoer are outweighed by the gravity of the harm to the alleged
       16
             I victims.
       1.7
                               Defendant has violated and continues to violate the "unfair" prong of the UCL by
       18
             Irepresenting a false "regular" price and corresponding price discount for its products sold at
       19
             I Talbots Outlet stores where Defendant, in fact, inflated the purported "regular" prices for such
       20
              products such that the promised discount was false, misleading and deceptive.
       21
                               Defendant's acts and practices are unfair because they caused Plaintiff, and are
       22
             likely to cause consumers, to falsely believe that Talbots Outlet stores are offering value, discounts
       23,
             or bargains from the prevailing market value or worth of the products sold that did not, in fact,
       24
             exist. As a result, purchasers, including Plaintiff, reasonably perceived that they were receiving
       25
             products that regularly sold in the retail marketplace at substantially higher prices (and are,
       26
              therefore, worth more) than what they paid. This perception has induced reasonable purchasers,
       27
              including Plaintiff, to buy such products, which they otherwise would not have purchased.
       28
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    I                 The gravity of the harm to members of the Class resulting from these unfair acts

    2 and practices outweighed any conceivable reasons, justifications and/or motives of Defendant for

    3 engaging in such deceptive acts and practices. By committing the acts and practices alleged

    4 above, Defendant engaged in unfair business practices within the meaning of California Business

    5 & Professions Code §§ 17200, ci seq.

    6                 As a direct and proximate result of Defendant's acts and practices, Plaintiff and

    7 Class members have suffered injury in fact and have lost money or property as a result of

    8 purchasing Defendant's products.

    9                 Through its unfair acts and practices, Defendant has improperly obtained money

   10 from Plaintiff and the Class. As such, Plaintiff requests that this Court cause Defendant to restore

   11 this money to Plaintiff and all Class members, and to enjoin Defendant from continuing to violate

   12 the UCL as discussed herein and/or from violating the UCL in the future. Otherwise, Plaintiff and

   13 the Class may be irreparably harmed and/or denied an effective and complete remedy if such an

   14 order is not granted.

   15
                                        SECOND CAUSE OF ACTION
   16
                                Violation Of The "Fraudulent" Prong Of The UCL
   17                            (By Plaintiff and the Class Against Defendant)

   18
               67.    Plaintiff re-alleges and incorporates by reference the allegations contained in the
   19
        preceding paragraphs as though fully set forth herein.
   20
                       The UCL defines unfair business competition to include any "unlawful, unfair or
   21
        fraudulent" act or practice, as well as any "unfair, deceptive, untrue or misleading" advertising.
   22
        Cal. Bus. & Prof. Code § 17200.
   23
                       A business act or practice is "fraudulent" under the UCL if it is likely to deceive
   24
        members of the consuming public.
   25
                       Defendant's price tags, marketing and advertising materials concerning false
   26
        former "regular" prices were "fraudulent" within the meaning of the UCL because they deceived
   27
        Plaintiff, and were likely to deceive members of the Class, into believing that Defendant was
   28
                                                        19
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    I    offering value, discounts or bargains at Talbots Outlet stores from the prevailing market value or

    2 worth of the products sold that did, not, in fact, eAist. As a result, purchasers, including Plaintiff,

    3    reasonably perceived that they were receiving products that regularly sold in the retail marketplace

    4    at substantially higher prices (and were, therefore, worth more) than what they paid. This

    5    perception induced reasonable purchasers, including Plaintiff, to buy such products from

    61 Defendant, which they otherwise would not have purchased.
    71            71.   Defendant's acts and practices as described herein have deceived Plaintiff and were

    8    highly likely to deceive members of the consuming public. Specifically, in deciding to purchase

    9 products from Talbots Outlet stores, Plaintiff relied on Defendant's misleading and deceptive

   110 representations regarding its "Special Value" regular prices, and "sale" prices. Each of these

   11    factors played a substantial role in Plaintiff's decision to purchase those products, and Plaintiff

   12    would not have purchased thode items in the absence of Defendant's misrepresentations.

   13    Accordingly, Plaintiff suffered monetary loss as a direct result of Defendant's practices described

   14 I herein.

   15             72.   As a direct and proximate result of Defendant's acts and practices. Plaintiff and

   16   IClass members have suffered injury in fact and have lost money or property as a result of

   17    purchasing Defendant's products.

   18             73.   As a result of the conduct described above, Defendant has been unjustly enriched at

   19 the expense of Plaintiff and members of the proposed Class. Specifically, Defendant has been

   20    unjustly enriched by obtaining revenues and profits that it would not otherwise have obtained

   21   I absent its false, misleading and deceptive conduct.
   22             74.   Through its unfair acts and practices, Defendant has improperly obtained money

   23 I from Plaintiff and the Class. As such, Plaintiff requests that this Court cause Defendant to restore
   24    this money to Plaintiff and all Class members, and to enjoin Defendant from continuing to violate

   25 the UCL as discussed herein and/or from violating the IJCL in the future. Othenvise, Plaintiff and

   26 I the Class may be irreparably hanned and/or denied an effective and complete remedy if such an
   27 Iorder is not granted.

   28
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                                           THIRD CAUSE OF ACrION
    1
                                  Violations Of The "Unlawful" Prong Of The UCL
    2                              (By Plaintiff and the Class Against Defendant)

    3
               75.       Plaintiff re-alleges and incorporates by reference the allegations contained in the
    4
        preeding paragraphs as though filly set forth herein.
    5
               76.       The UCL defines unfair business competition to include any "unlawful, unfair or

    6 fraudulent" act or practice, as well as any "unfair, deceptive, untrue or misleading" advertising.
    7
        Cal. Bus. & Prof. Code § 17200.
    8
               77.       A business act or practice is "unlawful" under the UCL if it violates any other law
    9
        or regulation.
   10
               78.       The FTCA prohibits "unfair or deceptive acts or practices in or affecting
   11
        commerce" (15 U.S.C. § 45(a)(I)) and specifically prohibits false advertisements. IS U.S.C. §
   12
        52(a)). The FTC has established Guidelines that describe false former pricing schemes, similar to
   13
        Defendant's in all material respects, as deceptive practices that would violate the FTCA:
   14
               (a) One of the most commonly used forms of bargain advertising is *to offer a
   15
               reduction from the advertiser's own former price for an article. If the former price

               is the actual, bona fide price at which the article was offered to the public on a
   17
               rcgular basis for a reasonably substantial period of time, it provides a legitimate
   18
               basis for the advertising of a price comparison. Where the former price is genuine,
   19
               the bargain being advertised is a true one. If, on the other hand, the former price
   20
               being advertised is not bona fide but fictitious   -   for example, where an artificial
   21
               price, inflated price was established for the purpose of enabling the subsequent
   22
               offer of a large reduction    -   the "bargain" being advertised is a false one; the
   23
               purchaser is not receiving the unusual value he expects.
   24
               (b) A former price is not necessarily fictitious merely because no sales at the
   25
                advertised price were made. The advertiser should be especially careful, however,
   26
                in such a case, that the price is one at which the product was openly and actively
   27
                offered for sale, for a reasonably substantial period of time, in the recent, regular
   28
                                                          2
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         1          course of her business, honestly and in good faith       -   and, of course, not for the

         2          purpose of cstablishing a fictitious higher price on which a deceptive comparison

         3          might be based.

         4 16 C.F.R. § 233.1.

         5          79.     California statutory and regulatory law also expressly prohibits false former pricing

         6 schemes. Cal. Bus. & Prof. Code § 17501, entitled "Value determinations: Former price
         7 I advertisements," states:

         8          For the purpose of this article the worth or value of any thing advertised is the

         9          prevailing market price, wholesale if the offer is at wholesale, retail if the offer is at

        10          retail, at the time of publication of such advertisement in the locality wherein the

        11          advertisement is published.

        12          No price shall be advertised as a former price of any advertised thing, unless the

        '3          alleged Jo rmer price was the prevailing market price as above defined within three

        14          months next immediately preceding the publication oft/ic advertisement or unless

        15          the date when the alleged former price did prevail is clearly, exactly and

        16          conspicuously stated in the advertisement. [Emphasis added.]

        17          80.     As detailed in Plaintiff's Fifth Cause of Action below, Cal. Civ. Code § 1770,

        18 subsection (a)(9), prohibits a business from "[a]dvertising goods or services with intent not to sell

        191 them as advertised," and subsection (a)( 13) prohibits a business from "[m]aking false or

        20 misleading statements of fact concerning reasons for, existence of, or amounts of price

        21 reductions."

        22          81.     Defendant's use of and reference to a materially false "regular" price, or purported

        23 percentage discount or whole-price reduction in connection with its marketing and advertisements

        24 concerning the merchandise sold at Talbots Outlet stores violated and continues to violate the

        25 FTCA, 15 U.S.C. § 45(a)(1) and 15 U.S.C. § 52(a), as well as FTC Guidelines published at Title

        26 16, Code of Federal Regulations, Section 233. It also violated and continues to violate Cal. Bus.

        27 & Prof. Code § 17501, and Cal. Civ. Code § 1770, sections (a)(9) and (a)(13) by advertising false
1•      28
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 26 of 58 Page ID #:34




    I discounts from purported former prices that were, in fact, hot the prevailing market prices within

    2 three months next preceding the publication and dissemination of advertisements containing the
    3 false former prices.
    4                 As a direct and proximate result of Defendant's acts and practices, Plaintiff and

      I
    5 Class members have suffered injury in fact and have lost money or property as a result of

    6 I purchasing Defendant's products.
    7                 As a result of the conduct described above, Defendant has been unjustly enriched at

    S the expense of Plaintiff and members of the proposed Class. Specifically, Defendant has been
    9 unjustly enriched by obtaining revenues and profits that it would not otherwise have obtained
   10 absent its false, misleading and deceptive conduct.
   11                 Through its unfair acts and practices, Defendant has improperly obtained money

   12 from Plaintiff and the Class. As such, Plaintiff requests that this Court cause Defendant to restore
   13 this money to Plaintiff and all Class members, and to enjoin Defendant from continuing to violate
   14 the UCL as discussed herein and/or from violating the UCL in the future. Otherwise, Plaintiff and
   Is the Class may be irreparably harmed and/or denied an effective and complete remedy ir such an

   16 order is not granted.

   17
                                        FOURTH CAUSE OF ACTION
   IS
                                   Violation Of California False Advertising Law
   19                         California Business & Professions Code Sections 17500, et seq.
                                   (By Plaintiff and the Class Against Defendant)
   20
   21                 Plaintiff re-alleges and incorporates by rererence the allegations contained in the

   22 preceding paragraphs as though fully set forth herein.

   23          86.    The California False Advertising Law prohibits unfair, deceptive, untrue, or

   24 misleading advertising, including, but not limited to, false statements as to worth, alue and
   25 former price.

   26
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Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 27 of 58 Page ID #:35




               87.     Cal. Bus. & Prof. Code § 17500 provides that:

    2          [i]t is unlawful for any.        . .   corporation   . . .   with intent.   . .   to dispose of...

    3          personal property .       ..   to induce the public to enter into any obligation relating

               thereto, to make or disseminate or cause to be made or disseminated.., from

    5          this state before the public in any state, in any newspaper or other

    6          publication, or any advertising device, or by public outcry or proclamation,

               or in any other manner or means whatever, including over the Internet, any
    H
               statement .     ..   which is untrue or misleading, and which is known, or which

               by the exercise of reasonable care should be known, to be untrue or misleading.

   10          [Emphasis added.].

   11          88.     The "intent" required by Cal. Bus. & Prof. Code § 17500 is the intent to dispose of

   1211 property, and not the intent to mislead the public in the disposition of such property.
   13          89.     Similarly, Cal. Bus. & Prof. Code § 17501 provides, "no price shall be advertised

   14 las a former price of any advertised thing, unless the alleged former price was the prevailing

   isil market price   .   .   .
                                   within three months next immediately preceding the publication of the

   16 advertisement or unless the date when the alleged former price did prevail is clearly, exactly, and

   17 conspicuously stated in the advertisement."

   18          90.     Defendant's routine practice of advertising "Special Value" regular prices on all of

   19 its exclusive, made for Talbots Outlet merchandise, which were never the true prevailing prices of

   20 those products was an unfair, deceptive and misleading advertising practice. This deceptive

   21 marketing practice gave consumers the false impression that the products sold at Talbots Outlet

   22 stores were regularly sold in the retail marketplace at substantially higher prices than they actually

   23 were. Therefore, leading to the false impression that the merchandise was worth more than it
   24 actually was.

   25          91.     Defendant misled consumers by making untrue and misleading statements and

   26 failing to disclose what is required as stated in the Code, as alleged above.

   27

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Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 28 of 58 Page ID #:36




                      As a direct and proximate result of Defendant's acts and practices, Plaintiff and

    2 Class members have suffered injury in fact and have lost money or property as a result of.

    3 purchasing Defendant's products.

    4                 Through its unfair acts and practices, Defendant has improperly obtained money

    5 from Plaintiff and the Class. As such, Plaintiff requests that this Court cause Defendant to restore

    6 this money to Plaintiff and all Class members, and to enjoin Defendant from continuing to violate

    7 the False Advertising Law as discussed herein in the future. Otherwise, Plaintiff and the Class may

    8 be irreparably harmed and/or denied an effective and complete remedy if such an order is not
    9 granted.
   10
                                         FIFTH CAUSE OF ACTION
   11.
                              For Violation Of The Consumer Legal Remedies Act
   12                             California Civil Code Sections 1750, et. seq.
                                (By Plaintiffs and the Class Against Defendant)
   13
   14          94.    Plaintiff re-alleges and incorporates by reference the allegations contained in the

   15 preceding paragraphs as though fully set forth herein.

   16          95.    This cause of action is brought pursuant to the CLRA.

   17          96.    Plaintiff and each member of the proposed Class are "consumers" within the

   18 meaning of California Civil Code § 1761(d).

   19          97.    Defendant's sale of merchandise to Plaintiff and the Class were "transactions"

   20 within the meaning of California Civil Code § 1761(e). The products purchased by Plaintiff and

   21 the Class are "goods" within the meaning of California Civil Code § 176 1(a).
   22          98.    As described herein, Defendant violated, and continues to violate, the CLRA by

   23 falsely representing the nature, existence and amount of price discounts by fabricating inflated
   24 "Special Value" regular prices. Such a pricing scheme is in violation of Cal. Civ. Code § 1770,
   25 subsection (a)(9) ("[a]dvertising goods or services with intent not to sell them as advertised") and

   26 subsection (a)(13) ("[m]aking false or tiisleading statements of fact concerning reasons for,
   27 existence of, or amounts of price reductions").
   28
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 29 of 58 Page ID #:37




        I           99.     Plaintiff relied on Defendant's false representations in deciding to purchase

    2        merchandise from Defendant. Plaintiff would not have purchased such merchandise absent

    3        Defendant's unlawful conduct. As a result of these acts and practices, Plaintiff suffered damage in

    4        that she spent money at Talbots Outlet store that she would not have otherwise spent absent

    5 Defendant's unlawful and misleading acts and practices.

    6               100. Pursuant to Section 1782(a) of the CLRA, on May 17,2017, Plaintiff's Counsel, on

    T behalf of Plaintiff Fliegelman, served Defendant by United States certified mail, return receipt

    8       requested, with notice of Defendant's particular violations of the CLRA and requested that

    9       Defendant identify victims, notify victims and remedy its illegal conduct within 30 days.

   10               101. Plaintiff has requested that Defendant timely respond to the CLRA demand notice

   11       and presently seeks only injunctive relief pursuant to the CLRA. If Defendant fails to fully,

   12       completely and timely comply with Plaintiff's demand letter, Plaintiff will amend this Complaint

   13 to seek actual and punitive damages, as appropriate, under the CLRA. Under California Civil
   14 Code § 1782(d), after the commencement of an action for injunctive relief, and after compliance
   15       with the provisions of Section 1782(a), Plaintiff may amend her Complaint without leave of court

   16 to include a request for damages.
   17
                                                 PRAYER FOR RELIEF
   18
   19              WHEREFORE, Plaintiff, on behalf of herself and members of the Class, prays for relief

   20       and judgment against Defendant as follows:

   21                      For an order certifying this matter as a class action and designating Plaintiff as the

   22       Class Representative and Plaintiff's Counsel as Class Counsel;

   23              2.      For an order awarding restitution and disgorgement of all profits and unjust

   24       enrichment that Defendant obtained from Plaintiff and the Class members as a result of its

   25       unlawful, unfair, and fraudulent business practices described herein;

  26               3.      For appropriate injunctive relief as permitted by law or equity;

  27               4.      For an order directing Defendant to engage in a corrective advertising eampaign;

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                                                            26
            CLASS ACTION COMPLAINT
    Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 30 of 58 Page ID #:38




        ii                  For an award of attorneys' fees as authorized by statute including, but not limited

        2    to, the provisions of California Civil Code § 1780(e), California Code of Civil Procedure §

        3    1021.5, as authorized under the "common fund" doctrine,, and as authorized by the "substantial

        4    benefit" doctrine;

        5                   For costs of the suit incurred herein;

        6                   For prejudgment interest at the legal rate; and

        7                   For such 'other and further relief as the Court may deem proper.

        8
                                               DEMAND FOR JURY           TRIAL
        9

       10           Plaintiff hereby demands a trial by jury for Plaintiff and the Class as to all issues so triable.

       11
       12
             Dated: May Il, 2017                        LAW OFFICES OF ZEV B. ZYSMAN, APC
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       15                                                      111201-
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       16                                               Attorneys for Plaintiff Lynette Fliegelman and
                                                        The Proposed Class
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Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 31 of 58 Page ID #:39




                   EXHIBIT A
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                           EXHIBIT B
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                   EXHIBIT C
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                    EXHIBIT D
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                                                   TAuorS 4016
                                                CAMARILLO OUTLET
                                           800 VENTURA BLUD.SIJIIE. 620
                                               CAIIARILLO, CA 93010
                                                      805-383-0602



                                      TALBOTS
                                                      OUTLET

                               SIGI1E: 1016    REG:        IRANI: 5396
                               SALE            I2I19/2016 fliP: 0091208
                               Cashier: 0216512

                               •LS CREW NK                  12118190       10.10
                                 60% 0FF Regular Price                  15.60
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                               ICTTH/TEHCEL DENIM 42383620                 29.80
                              • ox ocr Regular Price

                                            Subtotal                            50.60
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                                      IHANK YOU FOR SHOPPING AT 1ALBOTS

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                                          Classic Awards members earn
                                            points toward $25 Rewards
                                       everu time thew make a purchase.
                                       Look below to see how nan. points
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                                    For more information or to enroll, see
                                    a Sales Associate. call 1-800425-2687
                                      or visit talbots.com/classicawards.
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              15760 Ventura Boulevard, 16th Floor                       MAY 17 2017
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            Tel.: 818-783-8836                                       Egacuiiva o:acc and Cleric
            Fax: 818-783-9985                                  BY:                     -.   Deputy
                                                                        JILL KAMINSKJ
          5 Attorneys for Plaintiff and
            the Proposed Class
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                                   SU!ERIOR COURT OF THE STATE OF CALIFORNIA
          9        -


                                              FOR THE COUNTY OF VENTURA
         10
         11
            LYNETFE FLIEGELMAN, on behalf of I CASE NO.                56401700495559CU4Ty1A
         12 herself and all others similarly situated, II DECLARATION OF PLAINTJFF IN
         13                 !Iaintiffs                    SUPPORT OF VENUE PURSUANT TO
                                                          CIVIL CODE §1780(d)
         14 vs.
         15 THE TALBOTS, INC. and DOES I through
              100, inclusive,
         16
                                Defendants.
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      I          1, Lynette Fliegelman, declare as follows:

      2          I.     I am a competent adult, am a resident of the State of California, and am a Plaintiff

      3 in this matter. I have personal knowledge of the facts set forth below, and if called upon to testilS'
      4 to the same, I could and would do so competently and truthfizUy:
      5          2.     This declaration is submitted in accordance with Califbrnia Civil Code §1780(d).

      6          3.     This action has been commenced in a county described in California Civil Code

      7 §1180 as a proper place for the trial of the action. The iransaction or a substantial portion thereof
      8 occurred in the County of Ventura.
      9          I declare under penalty of perjury under the laws of the State of California that the

     10 foregoing is true and cofrect.
    11           Executed thjs/E day of May 2017 at Oak Park, CA.

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     13
                                                                    LYNEflE FLIEGELMAN
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                                       LAW OFFICES OF ZEV B. ZYSMAN
                                                                 A PROFESSIONAL CORPORATION
                                                                      15760 Ventura Boulevard, 16th Floor
                                                                                 Encino, California 91436
                                                                     818.783.8836 Main 1 918.783.9985 Fax




        May 17, 2017


        VIA CERTIFIED MAIL
        RETURN RECEIPT REqUESTED

        The Talbots, Inc.
        Camarillo Outlet
        800 Ventura Blvd., Suite 620
        Camarillo, CA 93010

               Re:     Fliegelmon v. The To/hots, Inc.


        Dear Sir or Madam:

                We represent Lynette Fliegelman (Plaintiff) and all other similarly situated
        California residents described in the operative Complaint (enclosed for your reference),
        on whose behalf we are sending this letter pursuant to California Civil Code § 1782 in
        order to noti' The Talbots, Inc. ("Talbots") of the nature of her claim, and to demand
        curative actions. This action against Talbots arises of its false and misleading advertising
        and marketing of purported "regular" prices, and corresponding phantom "savings" on
        women's clothing, shoes, accessories, and other accessories sold at Talbots Outlet stores
        in California (the "Products").

                 As you are aware, Talbots routinely offers its Products for sale in its Outlet stores
        in California at substantial discounts. Talbots conveys its deceptive pricing scheme to
        consumers through promotional materials, in-store-displays, and print advertisements.
        The pricing scheme is prominently displayed, advertising deep discounts from the
        "regular" prices listed on the original price tag. Specifically, the words "Special Value"
        are set forth on every price tag in the Outlet stores to indicate the "regular" price at which
        merchandise was purportedly offered for sale. The represented, "Special Value" prices
         on the price tags were also false "regular" prices; utilized only to perpetuate Talbots
         deceptive discount scheme. There are typically large signs on top of or alongside each
         rack of clothing or accessories, advertising a "discounted % ofT," or a "discounted whole-
         price" reduction for the item. For example, a Product may have a price tag with a
         "regular" price of $89.50 and the related signage advertising "40% Off Regular-Price
         Items," which is substantially less than the regular price listed on the price tag.
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 47 of 58 Page ID #:55




      May 17,2017
      Page 2
                                                           with a "regular" price of $69.50 and the
      Another example is a Product having a price tag
      related signage advertising a "sale price" of $29.99. Furthermore, upon check-out,
      Talbots provides California consumers, including plaintiff, with sales receipts continuing
                                                                                            discount
      the misrepresefltati0ns regarding false price reductions. For example, the stated
       from the false former "regular" price is listed for each item purchased.

               However, the "Special Value" regular prices listed on the price tags have never
       existed and/or were not the prevailing market retail prices for such products within the
                          immediately preceding the publication of the price tags, as required by
       three months next                      ations intentionally designed to enable Talbots'
       California law. They are fictional cre
                                                   ts offers for sale Products manufactured
       phantom markdowns.
         xclusively and intended solely for sale in its Outlet stores. Further exacerbating
        e
        consumers' perception of deep discounts is the fact that Defendant sells higher quality
       products at its companyoperated mainline retail stores. Talbots knows that consumers
       expect to receive a discount when shopping at its Outlet stores, and accordingly, preys on
       consumer expectations by artificially marking up the regular price of its Products and
                                          artificially inflated regular price to induce consumers to
       then offering discounts off of the
       purchase their Products. The regular price exists to provide an illusory discount when
        compared to the actual sales price offered.
                                                              advertising and pricing scheme,
                 Through its false and deceptive marketing,
        Talbots has violated, and continues to violate California law prohibiting advertising
        goods for sale as discounted from purported former prices which are false, and
        prohibiting misleading statements about the existence and amount of price reductions.
                                            gular prices which did not reflect a price at which
        Indeed, Talbots used fabricated re
        Talbots' Products are routinely, if ever, sold to customers. specifically, Talbots has    et
         violated, and continues to violate, California's Business & Professions Code §§ 17200,
                                                                                    etseq. (the
              (the "UCL"), California's Business & Professions Code §§ 17500,
         seq.           the California Consumers' Legal Remedies Act, California Civil Code
         "FAt]'), and
                                              the Federal Trade Commission Act ("FTCA"), which
         §§ 1750, ci seq. (the "CLRA"), and
             hibits "unfair or deceptive acts or practices in or affecting commerce" (IS U.S.C. §
         pro
         45(a)(1)) and false advertisements. 15 U.S.C. § 52(a).

                 The FTCA prohibits "unfair or deceptive acts or practices in or affecting
         câmmerce" (IS U.S.C. § 45(a)(1)) and specifically prohibits false advertisements. IS
         U.S.C. § 52(a)). The FTC has established Guidelines that describe false former pricing
         schemes, similar to Talbots in all material respects, as deceptive practices that would
         violate the FTCA:

                 (a) One of the most commonly used forms of bargain advertising is to
                 offer a reduction from the advertiser's own former price for an article. If
                 the former price is the actual, bona fide price at which the article was
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 48 of 58 Page ID #:56




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                Page 3

                offered to the public on a regular basis for a reasonably substantial period
                of time, it provides a legitimate basis for the advertising of a price
                comparison. Where the former price is genuine, the bargain being is a true
                one. if, on the other hand, the former price being advertised is not bona
                fide but fictitious for example, where an artificial price, inflated price
                                  -


                was established for the purpose of enabling the subsequent offer of a large
                reduction the "bargain" being advertised is a false one; the purchaser is
                          -



                not receiving the unusual value he expects.

                (b) A former price is not necessarily fictitious merely because no sales at
                the advertised price were made. The advertiser should be especially
                careful, however, in such a case, that the price is one at which the product      .   ..   -




                waà openly and actively offered for sale, for a reasonably substantial
                period of time, in the recent, regular course of her business, honestly and
                in good faith and, of course, not for the purpose of establishing a
                              -


                fictitious higher price on which a deceptive comparison might be based.

      16 C.F.R. § 233.1.
             California law also expressly prohibits false former pricing schemes. Cal. Bus. &
      Prof. Code § 17501, entitled "Value determinations; Former price advertisements,"
      states:

                For the purpose of this article the worth or value ofany thing advertised is
                the prevailing market price, wholesale if the offer is at wholesale, retail if
                the offer is at retail, at the time of publication of such advertisement in the
                locality wherein the advertisement is published.

                No price shall be advertised as a former price of any advertised thing,
                unless the allegedformer price was the prevailing market price as above
                defined within three months next immediately preceding the publication of
                the advertisement or unless the date when the alleged former price did
                prevail is clearly, exactly and conspicuously stated in the advertisement.
                [Emphasis added.]

              As detailed in Plaintiff's Fifth Cause of Action in the enclosed Complaint,
      California Civil Code § 1770, subsection (a)(9), prohibits a business from "[a]dvertising
      goods or services with intent not to sell them as advertised," and subsection (a)( 13)
      prohibits a business from "[m]aking false or misleading statements of fact concerning
      reasons for, existence of, or amounts of price reductions."
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      Page 4

              Talbots' practices have misled Plaintiff and the proposed Class in the past and
      will continue to mislead in the future. As a result, Talbots' acts and practices constitute
      violations of Section § 1770(a)(9) and (a)(13) within the meaning of the CLRA.

              While the Complaint constitutes sufficient notice of the claims asserted, pursuant
      to California Civil Code § 1782, we hereby demand on behalf of the Plaintiff and all
      other similarly situated California residents that Talbots immediately correct and rectify
      these violations of California Civil Code § 1770 by ceasing the misleading marketing and
      sales discount campaign(s) and ceasing dissemination of false and misleading sale
      discount information as described in the enclosed Complaint.

               In addition, Talbots should offer to refund the purchase price to all consumer
      purchasers of these Products, plus reimburseithent for interest, costs, and fees.
      Alternatively, Talbots should offer to refund the difference between the advertised
                                                                                              the
      "Special Value" regular price for the Prdduct and the price paid for the Product (i.e.,
      "sales price").

               Plaintiff will, after 30 days from the date of this letter, amend the Complaint
       without leave of Court, as permitted by California Civil Code § 1782, to include claims
                                                                        if a full and adequate
       for actual and punitive damages as may be appropriate
                                                                   -
                                         -



       response to this demand letter is not received, as well as an award of attorneys' fees and
       costs. Accordingly, to avoid further litigation, it is in the interest of all parties concerned
       that Talbots address this problem immediately.

               Talbots must undertake all of the following actions to satisfy the requirements of
       California Civil Code § 1782(c):

                   Identify, or make a reasonable attempt to identify purchasers of the subject
                   Products who reside in California;

                   Notify all such purchasers so identified that upon thqir request, Talbots will
                   offer an appropriate correction, replacement, or other remedy for its wrongful
                   conduct, which can include a full refund of the purchase price paid for such
                   Products, plus interest, costs and fees; or a partial refund as described herein;

                   Undertake (or promise to undertake within a reasonable time if it cannot be
                   done immediately) the actions described above for all Talbots purchasers who
                    so request; and

                    Cease from expressly or impliedly representing to consumers that these
                    Products are offered at a discounted price or sale price or at a certain
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 50 of 58 Page ID #:58
   S




       May 17, 2017
       PageS
                                               regular price, or otherwise comply with California
                 percentage off from a false
                 law in the offering of its sale discounted Pro4ucts.

             If you have any questions regarding this notice and demand, feel free to
       contact me.




       Enclosures
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 51 of 58 Page ID #:59


                                      SUPERIOR COURT OF CALIFORNIA
                                           COUNTY OF VENTURA
                                                     800 South Victoria Avenue
                                                        Ventura, CA 93009
                                                          (805) 2804525


                      NOTICE OF CASE ASSIGNMENT AND MANDATORY APPEARANCE


                                            Case Number. 58-201740496659.CII43T-VTA

 Your case has been assigned for all purposes to the judicial officer indicated below.
 A copy of this Notice of Case Assignment and Mandatory Appearance shall be served by the filing party on all
 named OefendantslRespondents with the Complaint or Petition, and with any Cross-Complaint or Complaint In
 intervention that names a now party to the underlying action.

     ASSIGNED JUDICIAL OFFICER                            COURT LOCATION                                 DEPTIROOM
   Hon. Vincent O'Neill                       I                    Ventura                                      41
                        RY APPEARANCE CMlOrderto Show Cause Ro Sanctlons101smlssai
     HEARING MANDATO
                                                                                                           -
                                                                                                                        -.


             for FaIlure to File Proof of ServicelDefault
     EVENT DATE                                                  EVENT TIME                       EVENT DEPT!ROOM
       1011612017                                                 08:15 AM                                     22B

                                          SCHEDULING INFORMATION
 Judicial Scheduling Information
    AT THE ABOVE HEARING IS MANDATORY.
   Each party must file a Case Management Statement no later than 15 calendar days prior to the hearing and
   serve it on all parties. If your Case Management Statement is untimely, it may NOT be considered by the court
       C 3J25).
   fCR  oof of service andlor request for entry of default have not been filed: At the above hearing you are ordered
   to show cause why you should not be compelled to pay sanctions and/or why your case should not be dismissed
   (CCP 177.5, Local Rule 3.17).

  Advance Jury Fee Requirement
   At least one party demanding a jury trial on each side of a civil case must pay a non-refundable jury fee of $150.
   The non-refundable jury fee must be paid timely pursuant to Code of Civil Procedure sectIon 631.



  Noticed MotionslEx Pade Matters
   To set an ex parte hearing, contact S judicial secretary In the assigned department. Contact the clerk's office
   to reserve a date for a law and motion matter.

  Telephonic Appearance
   Telephonic appearance at the Case Management Conference is permitted pursuant to CRC 3.670. In addition,
   see Local Rule 7.01 regarding notice to the teleconference provider. The court, through the teleconference
   provider, will contact all parties and counsel prior to the hearing.

                                                                        cteslc of the Cowl,
 Date: 05118/2017                                                 By:        epaw
                                                                        Jul Knminskl, Clerk

VEN.fNRDfl                                                   -

                            NOTICE OF CASE ASSIGNMENT AND MANDATORy APPEARANCE
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 52 of 58 Page ID #:60
It
                                                                                                                               .    .




                                                                                                                       FOR COURTUSE ONLY
           IEYQ.R PARTY W1TN4UTflTTORMEY jun liar. Cit r.w,,bi fl adse*
            B. Lysman (I7o8u5)
           N OFFICES OF ZEV B. ZYSMAN. APC                                                                             VENTURA
           SO Ventura Boulevard, 16th Floor, Encino.CA 91436                                                        SUPERIOR COURT

           TetEPlCflENO   (I_8)Jj                             rmso;   (818) 783-9985                                   FILED
                                                                                                                      MAY 17 2017
         sTRtETADDRES5;   800 SOUTH VtCTORIA A
         MMJIIG DOnEss,                                                                                            MCHAEL 0. PLANET
         CrrY MDaP CODE: Ventura, CA 93009
                                                                                                                  Executive Officer and Clerk
                                                                                                          BY:_
                                                                                                                     aLL cAMINsjdOPUtY
       CASE NPJvtE:
                                                                                                                                                  I
       Lynette Fliegelman v. The talbots,              Inc.                                           I
                                                                                                      riac tna.n

         CIVIL CASE COVER SHEET                                 Complex Case DesignatIon
     12]   UnlimIted         C] limited
                                (Amount
                                                                  Counter     c:i     Joinder
                                                                                                          AJGE•
           (Amount                                                          appearance by defendant
           demanded                 demanded is            Filed with first
                                                                                                          OEPT:
                                    525,000 or less)           (Cal. Rules of Court. rule 3.402)
           exceeds $25000)                                                                                 2).
                                        Items 1-6 below must be completed (see lnsbuctlons on page
     richectc one box below for the case type that best describes this case:                   provIsIonally Complex Clvii Litigation
                                                    Contract
        Auto Tart                                                                              (Cal. Rules of Court, rules 3.400-3.403)
                                                         C]
                                                          Breath of contracthvarranty (09)

        R     Auto (22)
              Uninsured motorIst (46)
        other PUPOJWO (Personal InJufyIPf0PertY
                                                          Rule 3.140 doftections (OS)
                                                         C]
                                                          other collections (09)
                                                                                               CJAnt1tnjst/Trad0 regulatIon (03)
                                                                                               Ci ConstTuction defect (tO)
        Damage Wrongful Doath) Teit                      C]
                                                          insurance cevorage (16)                 Mass tort (40)
                                                                                               C] Securities litigation (28)
        C]    AsbestoS (04)                               Other contract (37)
                                                                                               C] EnvlronmentaVTOxlc toil (30)arising from the
        O     Product Iiab'dity (24)                Real Property
                                                                                               C] bewance
        C     Medical malpractiCe (45)                  []Eminent domaWinverso
                                                          condemnatIon (14)
                                                                                                             c0ver090 claims
                                                                                                  above listed         tonally complex case
        CI Other PVPDIWD (23)                           C] Wrongful eviction      (33)
                                                                                                          tYP5 (41)
         Non.PIIPDIWD (Other) Tort
                                                                     real property  (26)           En!erceniont  of Judgment
        [2] BusineSs torvunfair busIness actice (07) UnlawfulOtherDatable?                        CI     Enforcement of judgment (20)
         O cM) rtghts (08)                                     COIflIMIdSI (31)                    Miscellaneous CIvil ComplaInt
         LJ osfamatlOn      (13)
                                                               Residential (32)                   IC]    RICO (21)
         CI Fraud (16)                                  C]     Drugs  (38)                         [Li    other complaint (not specified above) (42)
               Intonectual property (19)
                                                        JudIcial RSeW                              Miscellaneous   CivIl Petition
         C] ProfessIonal negligencetort(25)             C]     Asset forfeIture (05)               [Z     Parbiorship and corporate governance (21)
         C] other non.PuPDmD p51                        CI Petition ra: arbitration award [J Qen(not specified above) (43)
         [j ..ngfultermbotion(36)                       Li Writofillandate(02)(39)
               Other employment (15)                     C] Other judidol revIew                                     the case is complex, mark the
                                   LL.J                   under rule 3.400 of the California Rules of Court If
      2. This case "is
                                         Is not complex
          factors requIring exceptional judicial management
                                                 represented parties        C. C] Large number of witnesses
             C] Large number of separately
                               motion practice raising difficult or novel e. C]
                                                                                      Coordination with related actions pending in one or more courts
             C] Extensive
                   issues that will be tlme.consumifl9 to resolve
                                                                                      in other countieo. states, or countries, or in a federal court
                                                                            i. C] Substantial postjudgment judicial supervision
          C. C Substantial amount of documentary evidence
                                                                                                   declaratory or injunctive relief C. C]punitive
                                                    a.(Z) monetary b.[2] nonmonetary
       3. Remedies sought (check all that apply):
       4. Number of causes of action  (specify):  Five
       5. ThIs case    12]  is     C] is not a class action suit.
                                                                           related case. (You    wet use loon CM.015.)
       6. if there are any known related cases, file and serve a notice of
                                                                                             /
       Date: May 17, 2017   -                                                       1                 #

                                                                             Few.
                                                                                         or proceeding (except small claims cases or cases filed
         • Plaintiff must file this cover sheet with the First paper filed In the action
                                 Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court. rule 3.220.) Failure to file may result
            under the Probate
            In sanctions.                             cover sheet requIred by local court rule.
         • File this cover sheet in addition to any                                      of Court, you must serve a copy of this cover sheet on all
         • If this case is complex under rule 3.400 at seq. of the California Rules
            other parties to the action or proceeding.                                                         used for statistical purposes only.
                                                            3.740 or a complex case, this cover sheet will be
          • Unless this Is a collections.C850 under rule
                                                                      CASE COVER SHEET
  Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 53 of 58 Page ID #:61
a'       L

                                          INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1. you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.140 Collections Cases. A "collections case" under rule 3,740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorneys fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
 damages. (2) punitive damages, (3) recovery of reel property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case .as a rule 3,740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties In Complex Cases. In complex cases only. iiartles must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court. this must be indicated by
 completing the appropriate boxes In items 1 and 2. ifs plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder In the
 plaintiffs designation, a counter-designation that the case Is not complex, or, If the plaintiff has made no designation, a designation that
 the case is complex.
                                                             CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                         ProvIsionally Complex Civil Litigation (Cal.
       Auto (22)-Personai lnJurylProperty             Breach of Contract/Warranty, (06)             Rules of Court Rules 3.400-3.403)
 -   -
            DamageongT*WDeith                              Breach of Rentaifl.easw                        '-Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                         Contract (not unlawM deteiner                Construction Defect (10)
            case involves an uninsured                             or wrongful eviction)                    ClaIms tnvoMng Mass Tort (40)
            motorist claim subject to                      contract/Warranty Breach-Seller                  Securities Litigatien (28)
            arbitration, check this item                       Plaintiff (not fraud or negligence)          Environmental/Toxic Tort (30)
            instead of Auto)                               Negligent Breach of Contract!                    Insurance Coverage Claims
 Other PIIPDMD (Personal injury!                               Warranty                                         (arising from provisionally complex
Property Damagemrongfui Death)                             Other Breach of Contract/Warranty,                   was type listed above) (41)
Tort                                                  Collections (e.g. money owed, open             Enforcement of Judgment
       Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
           Asbestos Property Damage                        Collection Case-Seller Plaintiff                     Abstract of Judgment (Out of
            Asbestos Personal injury!                      Other Promissory Note/Collections                         County)
                 Wrongful Death                                Case                                             Confession of Judgment (non-
       Preduct Liability (not asbestos or             Insurance Coverage (not provisionally,                         domestic relations)
            toxiclenvironmontal) (24)                      complex) (18)                                        Sister State Judgment
       Medical Malpractice (45)                            Auto Subrogation                                     AdminIstrative Agency Award
           Medicai Malpractice-                            Other Coverage                                          (not unpaid taxes)
                 Physicians & Surgeons                Other Contract (37)                                       Petition/Certification of Entry of
           Other Professional Health Care                 Contractual Fraud                                        Judgment on Unpaid Taxes
                 Malpractice                              Other Contract Dispute                                Other Enforcement of Judgment
                                                  Real Property                                                      Case
       Other PIIPDMD (23)
           Premises Uabiiity (e.g., sup               Eminent Domain/inverse                         Miscellaneous Civil Complaint
                 and fall)                                Condemnation (14)                                RICO (27)
           intentional Bodily lnjury/PDMD               'ongful Eviction (33)                              Other Complaint (not specified
                                                                                                                above) (42)
                 (e.g., assault, vandalism)           Other Real Property (e.g.. quiet title) (26)
           Intentional infliction of                                                                           Declaratory Relief Only
                                                          Writ of Possession of Real Property                  Injunctive Relief Only (non-
                 Emotional Distress                       Mortgage Foreclosure                                       harassment)
           Negiigent Infliction of                        Quiet Title
                 Emotional Distress                                                                            MechanIcs Lien
                                                          Other Real Property (not eminent                     Other Commercial Complaint
           Other PIIPDMD                                  domain, Iend7wrLtenanl, or
                                                                                                                     Case (non.lo,tThon.complex)
Non.Pl/PDIWD (Other) Tort                                  foreclosure)                                        Other Civil Complaint
      Business Teitlunfair Business               Unlawful Detalner                                                 (non-tarthon-complex)
          Practice (07)                              Commercial (31)                                 Miscellaneous Civil Petition
      Civil Rights (e.g., discrimination.            Residential (32)                                     Partnership and Comorate
          false arrest) (not civil                   Drugs (38) (if tire case involves illegal                 Govemance (21)
           harassment) (08)                               drugs, check this item; otherwise.              Other Petition (not specified
      Defamation (e.g., slander, libel)                   report as Commercial or Residential)                 above) (43)
            (13)                                  Judicial Review                                              Civil Harassment
      Fraud (16)                                     Asset Forfeiture (05)                                     Workplace Violence
      intellectual Property (19)                     Petition Re: Arbitration Award (it)                       Elder/Dependent Adult
      Professional Negligence (25)                   Writ of Mandate (02)                                       -   Abuse
          Legal Malpractice                               Writ-Administrative Mandamus                         Election Contest
          Other Professional Malpractice                  Writ-Mandamus on Limited Court                       Petition for Name Change
               (not medical ortega!)                          Case Matter                                      Petition for Relief From Late
       Other Non-PulPDVD Tort (35)                        Wilt-Other Limited Court Case                             Claim
Employment                                                    Review                                           Other Civil Petition
         ongfui Termination (35)                     Other Judicial Review (39)
      Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Asneal-tabor

                                                     CIVIL CASE COVER SHEET
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 54 of 58 Page ID #:62



                                     LAW OFFICES OF.ZEV B. ZYSMAN
                                                                 A PROFESSIONAL CORPORATION

                                                                      15760 Ventura Boulevard, 16th Pont
                                                                                Encino, California 91436
                                                                    818.783.8836 Main 1818.783.9985 Fax




      May 17, 2017


      VIA CERTIFIED MAIL
      RETURN RECEIPT REOUESTED

      Chief Executive Officer
      Lizanne Kindler
      The Talbots, Inc
      One Talbots Drive
      Hingham, MA 02043

             Re:     Fliegelman v. The Tolbois, Inc.


      Dear Ms. Kindler:

              We represent Lynette Fliegelman (Plaintiff) and all other similarly situated
      California residents described in the operative Complaint (enclosed for your reference),
      on whose behalf we are sending this letter pursuant to California Civil Code § 1782 in
      order to notit& The Talbots, Inc. ("Talbots") of the nature of her claim, and to demand
      curative actions. This action against Talbots arises of its false and misleading advertising
      and marketing of purported "regular" prices, and corresponding phantom "savings" on
      women's clothing, shoes, accessories, and other accessories sold at Talbots Outlet stores
      in California (the "Products").

              As you are aware, Talbots routinely offers its Products for sale in its Outlet stores
      in California at substantial discounts. Talbots conveys its deceptive pricing scheme to
      consumers through promotional materials, in-store-displays, and print advertisements.
      The pricing scheme is prominently displayed, advertising deep discounts from the
      "regular" prices listed on the original price tag. Specifically, the words "Special Value"
      are set forth on every price tag in the Outlet stores to indicate the "regular" price at which
      merchandise was purportedly offered for sale. The represented, "Special Value" prices
      on the price tags were also false "regular" prices; utilized only to perpetuate Talbots
      deceptive discount scheme. There are typically large signs on top of or alongside each
      rack of clothing or accessories, advertising a "discounted % off," or a "discounted whole-
      price" reduction for the item. For example, a Product may have a price tag with a                    ....._.._-   -




      "regular" price of $89.50 and the related signage advertising MO% Off Regular-price           -.



      Items," which is substantially less than the regulá1ice listed on the price tag.
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     Page 2

     Another example is a Product having a price tag with a "regular" price of $69.50 and the
     related signage advertising a "sale price" of $29.99. Furthermore, upon check-out,
     Talbots provides California consumers, including Plaintiff, with sales receipts continuing
     the misrepresentations regarding false price reductions. For example, the stated discouni
     from the false former "regular" price is listed for each item purchased.

             However, the "Special Value" regular prices listed on the price tags have never
     existed and/or were not the prevailing market retail prices for such products within the
     three months next immediately preceding the publication of the price tags, as required by
     California law. They are fictional creations intentionally designed to enable Talbots'
     phantom markdowns. Additionally, Talbots offers for sale Products manufactured
     exclusively and intended solely for sale in its.Outlet stores. Furtlicr exac.erbating
     consumers' perception of deep discounts is the fact that Defendant sells higher quality         -   -




     products at its company-operated mainline retail stores. Talbots knows that consumers
     expect to receive a discount when shopping at its Outlet stores, and accordingly, preys on
     consumer expectations by artificially marking up the regular price of its Products and
     then offering discounts off of the artificially inflated regular price to induce consumers to
     purchase their Products. The regular price exists to provide an illusory discount when
     compared to the actual sales price offered.

              Through its false and deceptive marketing, advertising and pricing scheme,
      Talbots has violated, and continues to violate California law prohibiting advertising
      goods for sale as discounted from purported former prices which are false, and
      prohibiting misleading statements abaut the existence and amount of price reductions.
      Indeed, Talbots used fabricated regular prices which did not reflect a price at which
      Talbots' Products are routinely, if ever, sold to customers. Specifically, Talbots has
      violated, and continues to violate, California's Business & Professions Code §§ 17200, et
      seq. (the "UCL"), California's Business & Professions Code §§ 17500, et seq. (the
      "FAL"), and the California Consumers' Legal Remedies Act, California Civil Code
      §1750, et seq. (the "CLRA"), and the Federal Trade Commission Act ("FTCA"), which
      prohibits "unfair or deceptive acts or practices in or affecting commerce" (15 U.S.C. §
      45(a)(1)) and false advertisements. 15 U.S.C. § 52(a).

             The FTCA prohibits "unfair or deceptive acts or practices in or affecting
      commerce"(lS U.S.C. § 45(a)(1)) and specifically prohibits false advertisements. IS
      U.S.C. § 52(a)). The FTC has established Guidelines that describe false former pricing
      schemes, similar to Talbots in all material respects, as deceptive practices that would
      violate the FTCA:

             (a) One of the most commonly used forms of bargain advertising is to
             offer a reduction from the advertiser's own former price for an article. If
             the former price is the actual, bona fude price at which the article was
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   t,.




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                   offered to the public on a regular basis for a reasonably substantial period
                   of time, it provides a legitimate basis for the advertising of a price
                   comparison. Where the former price is genuine, the bargain being is a true
                   one. If, on the other hand, the former price being advertised is not bona
                   fide but fictitious - for example, where an artificial price, inflated price
                   was established for the purpose of enabling the subsequent offer of a large
                   reduction - the "bargain" being advertised is a false one; the purchaser is
                   not receiving the unusual value he expects.

                   (b) A former price is not necessarily fictitious merely because no sales at
                   the advertised price were made. The advertiser should be especially
                   careful, however, in such a case, that the price is one at which the product
                   was openly and actively offered for sale, for a reasonably substantial
                   period of time, in the recent, regular course of her business, honestly and
                   in good faith -and, of course, not for the purpose of establishing a
                    fictitious higher price on which a deceptive comparison might be based.


         16 C.F.R. § 233.1.
                  California law also expressly prohibits false former pricing schemes. Cal. Bus. &
                 Code § 17501, entitled Value determinations; Former price advertisements,"
                                        t
         Prof.
         states:

                   For the purpose of this article the worth or value of any thing advertised is
                   the prevailing market price, wholesale if the offer is at wholesale, retail if
                   the offer is at retail, at the time of publication of such advertisement in the
                   locality wherein the advertisement is published.

                    No price shall be advertised as a former price of any advertised thing,
                    unless the allegedformer price was the prevailing market price as above
                    defined within three months next immediately preceding the publication of
                    the advertisement or unless the date when the alleged former price did
                    prevail is clearly, exactly and conspicuously stated in the advertisement.
                    (Emphasis added.]

                 As detailed in Plaintiff's Fifth Cause of Action in the encloseciComptaint,
         California Civil Code § 1770, subsection (a)(9), prohibits a business from "[a]dvertising
         goods or services with intent not to sell them as advertised," and subsection (a)(l 3)
         prohibits a business from "[m]aking false or misleading statements of fact concerning
         reasons for, existence of, or amounts of price reductions."
Case 2:17-cv-04576-DMG-JC Document 1-1 Filed 06/21/17 Page 57 of 58 Page ID #:65




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              Talbots' practices have misled Plaintiff and the proposed Class in the past and
      will continue to mislead in the future. As a result, Talbots' acts and practices constitute
      violations of Section § 1770(a)(9) and (a)(I3) within the meaning of the CLRA.

              While the Complaint constitutes sufficient notice of the claims asserted, pursuant
      to California Civil Code § 1782, we hereby demand on behalf of the Plaintiff and all
      other similarly situated California residents that Talbots immediately correct and recti&
      these violations of California Civil Code § 1770 by ceasing the misleadinE marketing and
      sales discount campaign(s) and ceasing dissemination of false and misleading sale
      discOunt information as described in the enclosed Complaint.

             In addition, Talbots should offer to refland.the purchase price-to. all consumer
                                                                                                .
      purchasers of these Products, plus reimbursement for interest, costs, and fees.
      Alternatively, Talbots should offer to refund the difference between the advertised
      "Special Value" regular price for the Product and the price paid for the Product (i.e., the
      "sales price").

              Plaintiff will, after 30 days from the date of this letter, amend the Complaint
      without leave of Court, as permitted by California Civil Code § 1782, to include claims
                                                                       if a full and adequate
      for actual and punitive damages as may be appropriate
                                        -
                                                                   -




      response to this demand letter is not received, as well as an award of attorneys' fees and
      costs. Accordingly, to avoid further litigation, it is in the interest of all parties concerned
      that Talbots address this problem immediately.

              Talbots must undertake all of the following actions to satisf' the requirements of
      California Civil Code § 1782(c):

              I. Identify, or make a reasonable attempt to identify purchasers of the subject
                 Products who reside in California;

                  Noti& all such purchasers so identified that upon their request, Talbots will
                  offer an appropriate correction, replacement, or other remedy for its wrongful
                  conduct, which can include a hill refund of the purchase price paid for such
                  Products, plus interest, costs and fees; or a partial refund as described herein;

                  Undertake (or promise to undertake within a reasonable time if it cannot be
                  done immediately) the actions described above for all Talbots purchasers who
                  so request; and

                  Cease from expressly or impliedly representing to consumers that these
                  Products are offered at a discounted price or sale price or at a certain
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                   percentage off from a false regular price, or otherwise comply with California
                   law inthe offering of its sale discounted Products.

               If you have any questions regarding this notice and demand, feel free to
        contact me.


                                            V7lyyors,




                                             Zev B. Zysman




        Enclosures
